Case 18-18875-L|\/|| Doc 11 Filed 08/06/18 P%gre 1 of 3
UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRl OF FLORIDA

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CHAPTER 13 PLAN (lndividual Adjustment of Debts)

 

 

 

 

 

 

@ Original Plan
\:] Aniended Plan (Indicate lst, an, etc. Amended, if applicable)
E] Modified Plan (Indicate lst, 2nd, etc. Modif`led, if applicable)
DEBTOR: Dorothy Malirla JOINT DEBTOR: CASE NO.: lS-lSS’?S-LMI
SS#Z x'xx-xx- 959'? SS#Z xxx-xx-
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be eonfirrnable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-l (C)(S), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order convening the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph Vlll. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

The valuation of a secured claim, set out in Section III, which may result in a

partial payment or no payment at all to the secured creditor |:| Includcd |:| Nol included

 

 

 

 

 

Avoldance-of` a _|udlclal llen or nonpossessory, nonpurchase-money securlty interest, set |:| Includcd |:| Nol included
out in Section III
Nonstandard provisions, set out in Section Vlll |:| Included |:| Not included

 

 

II. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR[S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit ol`the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

l. $703,22 for months; toi;
2. $0,00 for months_ to_;
3. $0,00 for months_ to_;
B. DEBTOR(S)' ATTORNEY‘S FEE: |E NONE lII PRO BONO

III. TREA'IMENT OF SECURED CLAIMS

A. SECURED CLA[MS: m NONE
[Retain Liens pursuant to l l U.S.C. §1325 (a)(§)] Mortgage(s)fLien on Real or Personal Property:

 

1- Creditc'1'1Commodore Pla/a Condominium Assoeiation, Inc.

 

 

Ad€ll'CSSi MBH£IBCIDCHI OmCC Arrearagef Payoff on Petition Date S4,345.36
:::?ltl::“]’l:ir:§lt;;et Regular Payment (Maintain) $54?.?6 fmonlh (Monlhs l to 48 )
_ _ Arrears Payment (Cure) $90.53 fmonlh (Monlhs l to 48 )
Last 4 Dlglts of _ _ _
Account No.: 220?
Other:

 

 

 

 

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|:l Real Property Check one below for Real Property:
|:[Principal Residence |:|Escrow is included in the regular payments
|:|Other Real Property |:|The debtor(s) will pay |:|taxes |:|insurance directly

Addrcss of Collateral:
2?80 NE 183rd Street, Unit C2207
Avcntura, FL 33160

|:| Personal PropertyfVehicle

 

Deseription of` Collateral: real property, homestead

 

 

 

B. VALUATION OF COLLATERAL: |:| NONE

C. LIEN AVOIDANCE |:\NONE

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.

|§| NONE

E. DIRECT PAYMENTS: Sccurcd claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.

[:| NONE
lV. TREATMENT OF FEES AND PRIORITY CLAIMS las defined in ll U.S.C. §50? and ll U.S.C. § l322(a)(4)]
A. ADMINISTRATIVE FEES OTI-lER THAN DEBTORS{S]' ATTORNEY'S FEE: |:| NONE
B. INTERNAL REVENUE SERVICE: |E NONE
C. DOMESTIC SUPPORT OBLIGATION(S): |:| NONE
D. OTHER: |:| NONE
V. TREATMENT OF UNS_ECUR_ED NONPRIORITY _CRE]_JITORS
A. Pay $l .00 fmontli (Months l to § )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. l:| lf checked, the Debtor(s) will amendflnodif"y to pay 100% to all allowed unsecured nonpriority clainis.
C. SEPARATELY CLASSIFIED: [:I NONE

*Debtor(s) certify the separate elassification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to ll U.S.C. § 1322.

VI. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any crediton'lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

1§| NONE
vn. INCOME TAX RETURNS AND REFUNDS: |§ NONE
vm. NoN-sTANDARD PLAN PRovlsloNs @ NONE

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PROPERTY OF TI'l'E ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

 

Debtor Joint Debtor
Dorothy Malina Date Dme
fsi August 6, 2018
Attomey with permission to sign on Date

Debtor(s)' behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Loeal Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

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